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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern
 ____________________              Texas
                      District of _________________
                                       (State)

                                                            7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                           Microdermis Corporation
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              2 6          4 1 6 9 1 2 2
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            5773 Woodway
                                           ______________________________________________               103  Carnegie Center
                                                                                                        _______________________________________________
                                           Number     Street                                            Number      Street

                                            PM Box W
                                           ______________________________________________               Suite 300
                                                                                                        _______________________________________________
                                                                                                        P.O. Box

                                            Houston                         TX        77057
                                           ______________________________________________               Princeton                  NJ 08540-6235
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           ______________________________________________
                                           County                                                       2810 Meridian Parkway
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        Suite 120
                                                                                                        _______________________________________________

                                                                                                         Durham                     NC         27713
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                  www.microdermis.com
                                           ____________________________________________________________________________________________________


                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor           Microdermis Corporation
                _______________________________________________________
                Name
                                                                                               Case number (if known)_____________________________________


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         x None of the above
                                         

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5 ___
                                            ___ 4 ___
                                                   1 ___
                                                      7
8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                        
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        x No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           x No
                                         
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Microdermis Corporation
              _______________________________________________________
              Name
                                                                                            Case number (if known)_____________________________________



11.   Why is the case filed in this    Check all that apply:
      district?                        x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      x No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       x After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                       

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors                        x 100-199
                                                                        10,001-25,000                            More than 100,000
                                        200-999

                                       x $0-$50,000
                                                                        $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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                       UNANIMOUS WRITTEN CONSENT
              OF THE DIRECTORS OF MICRODERMIS CORPORATION

                                       September 13, 2018

        The undersigned, being all of the directors (the “Directors”) of Microdermis Corporation,
a Delaware corporation (the “Company”), hereby waive the holding of a meeting, and notice
thereof, and consent to the adoption of the following resolutions by written consent pursuant to
Section 2.10 of the Bylaws of Microdermis Corporation adopted October 1, 2010 (the “Bylaws”):

       WHEREAS, the Directors have previously communicated among themselves and
       in consultation with the Company’s officers and professionals for the purpose of
       determining whether exigent circumstances make it necessary or desirable for the
       Company to commence voluntary proceedings for relief under chapter 7 of title 11
       of United States Code, 11 U.S.C. §§ 101, et al. (as amended, the “Bankruptcy
       Code”) in the United States Bankruptcy Court for the Southern District of Texas,
       Houston Division (the “Bankruptcy Court”);

       WHEREAS, in light of such circumstances, the Directors have determined in their
       business judgement that, in light of such circumstances, that it is in the best interest
       of the Company to file a voluntary petition in the Bankruptcy Court pursuant to
       Chapter 7 of the Bankruptcy Code.

       NOW, THEREFORE, BE IT RESOLVED, the Directors hereby approve the
       Company filing a voluntary petition under chapter 7 of the Bankruptcy Code and
       authorize and direct the chief executive officer and any other officer of the Company,
       or their duly elected or appointed successors in office (each an “Officer” and,
       collectively, the “Officers”) (consistent with the rights and powers vested in them
       by the laws of the State of Delaware and by the Bylaws) to execute and deliver all
       documents necessary for the filing of a chapter 7 voluntary bankruptcy case on the
       Company’s behalf in the Bankruptcy Court, so as to accomplish an orderly
       liquidation of the Company;

       FURTHER RESOLVED, that all of the Officers be, and each of them hereby is,
       authorized and directed to appear in the Bankrutpcy Court and all bankruptcy
       proceedings on the Company’s behalf, and to otherwise do and perform all acts and
       deeds and to execute and deliver all necessary documents on the Company’s behalf,
       in connection with such bankruptcy case, including, without limitation, all petitions,
       affidavits, schedules, motions, pleadings, lists, statements of financial affairs and
       other documents that such Officer deems necessary, appropriate or desirable in
       connection with the proceedings under the Bankruptcy Code;

       FURTHER RESOLVED, that the execution by any Officer of any document
       authorized by the foregoing resolutions, or any document executed in the
       accomplishment of any action or actions so authorized, shall become upon delivery
       the enforceable and binding act and obligation of the Company, without the
       necessity of the signature or attestation of any other Officer;
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FURTHER RESOLVED, that in relation to the Company’s commencement of a
chapter 7 case under the Bankruptcy Code, the Officers are, and each of them
hereby is, authorized and directed to ratify and continue the Company’s
engagement of Diamond McCarthy LLP (“Diamond McCarthy”) as the Company’s
bankruptcy counsel and, in connection with the preparation for and commencement
of such chapter 7 case, to engage Diamond McCarthy as bankruptcy counsel in
such;

FURTHER RESOLVED, that all acts, transactions or agreements undertaken
prior to the adoption of these resolutions by any of the Officers or representatives
of the Company in its name and on its behalf, in connection with the foregoing
matters, are ratified, confirmed and adopted by the Company;

FURTHER RESOLVED, that each of the Officers is hereby authorized and
directed to certify any of the matters set forth in these resolutions;

FURTHER RESOLVED, that this written consent may be executed in
counterparts, all such executed counterparts together shall constitute one
instrument, and each executed counterpart shall be deemed an original copy of this
written consent; and

FURTHER RESOLVED, that this written consent, as executed by any of the
undersigned, may be transmitted by facsimile machine, portable document format
or any other electronic means and shall be treated in all manners and respects as an
original document and an original signature.

      [remainder of page intentionally left blank – signature page follows]




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       IN WITNESS WHEREOF, the undersigned, being all of the Directors of the Company,
have executed this written consent as of the date first set forth above.




                                       James A. Johnson



                                       Rafael Jaque-Fischer




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       IN WITNESS WHEREOF, the undersigned, being all of the Directors of the Company,
have executed this written consent as of the date first set forth above.




                                       Mac Sweeney




                                       Rafael Jaque-Fischer




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       IN WITNESS WHEREOF, the undersigned, being all of the Directors of the Company,
have executed this written consent as of the date first set forth above.




                                       Mac Sweeney



                                       James A. Johnson



                                       Rafael Jaque-




                                        -3-
